8:21-cr-00306-BCB-MDN            Doc # 132    Filed: 03/11/25     Page 1 of 2 - Page ID # 340




                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                        Plaintiff,                                  8:21–CR–306

        vs.                                           ORDER GRANTING MOTION TO
                                                     WITHDRAW AND DENYING MOTION
SHERI ANN GRIEGO,                                        TO REDUCE SENTENCE
                        Defendant.


       This matter is before the Court on the defendant’s pro se Motion to Reduce Sentence,

Filing 127, and a Motion to Withdraw filed by the defendant’s counsel, Filing 130. The Office of

the Federal Public Defender was appointed to represent the defendant pursuant to General Order

No. 2023-09. Filing 128. The purpose of this appointment was to determine whether the defendant

qualified “for relief pursuant to either the 2023 U.S. Sentencing Guidelines amendments of

U.S.S.G. § 1B1.13 or U.S.S.G. § 1B1.10 providing for the retroactive application of Amendment

821[.]” Filing 128 at 1. The defendant’s counsel has moved to withdraw as counsel because “the

Defendant already received the benefit of the Amendment 821 change to the status-points

enhancement, therefore she is not eligible for a sentence reduction.” Filing 130 at 1. The United

States Probation Office also submitted a worksheet in this case which states that the defendant is

not entitled to a reduction. Filing 131.

       The Court has conducted its own review of the defendant’s pro se Motion along with other

relevant matters in the record. The Court concludes that the defendant is not entitled to the

requested sentencing relief. The defendant’s pro se Motion is without merit and will be denied.

The Court likewise concludes that the Motion to Withdraw should be granted for the reasons set

forth in the Motion. Accordingly,

       IT IS ORDERED:

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8:21-cr-00306-BCB-MDN       Doc # 132      Filed: 03/11/25    Page 2 of 2 - Page ID # 341




     1. The Federal Public Defender’s Motion to Withdraw, Filing 130, is granted; and

     2. The defendant’s pro se Motion to Reduce Sentence, Filing 127, is denied.

     Dated this 11th day of March, 2025.

                                                BY THE COURT:


                                                _________________________
                                                Brian C. Buescher
                                                United States District Judge




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